                              UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF NORTH CAROLINA
                                  STATESVILLE DIVISION

                                   DOCKET NO. 5:05CR214-V


UNITED STATES OF AMERICA,                        )              FINAL ORDER AND
                                                 )          JUDGMENT OF FORFEITURE
               v.                                )            AS TO SUBSTITUTE RES
                                                 )                (BY CONSENT)
(1) DONNA FAYE ATKINS REEVES                     )

       On January 17, 2006, this Court entered a Consent Order and Judgment of Forfeiture

pursuant to 21 U.S.C. §853 and Fed. R. Crim. P. 32(d)(2), based upon the defendant’s conviction

on Count One in the bill of indictment.

       In the Consent Order and Judgment, defendant agreed to forfeiture of and was ordered to

forfeit a money judgment for the sum of $150,000 in criminal proceeds. It was further ordered that

the government could take steps to collect that judgment from defendant’s interest in other assets,

including real property located 48 Hospital Road, Sparta, North Carolina. Defendant has made

arrangements to sell or refinance this property and tendered a check for $18,000 to the government,

agreeing to forfeiture of this money as a substitute res for defendant’s equity in the property. In

return, the government has released its lis pendens on the property.

       3. On February 23, 2006, the United States published in The Allegheny News, a newspaper

of general circulation, notice of this forfeiture and of the intent of the government to dispose of the

forfeited property, including the real property in Sparta, according to law, and further notifying all

third parties of their right to petition the Court within thirty days for a hearing to adjudicate the

validity of any alleged legal interest in the property. See Form USM-285, returned on February 24,

2006. It appears from the record that no petitions have been filed with regard to the $150,000 or the

real property in Sparta.



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       It is therefore ORDERED, ADJUDGED AND DECREED that all right, title, and interest

in the following property is hereby forfeited to the United States for disposition according to law:

the sum of $18,000 as a substitute res for defendant’s interest in real property located at 48 Hospital

Road, Sparta, North Carolina.

       SO ORDERED.

                                                       Signed: May 11, 2006




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